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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

TRAFFIC TECH, INC.,

                    Plaintiff,                                 Case No. 14-CV-07528

                        v                                           Jury Demand

JARED KREITER et al.,                                      Honorable Robert M. Dow, Jr.

                   Defendant.

   DEFENDANT JARED KREITER’S MEMORANDUM IN SUPPORT OF HIS RULE
       12(B)(6) MOTION TO DISMISS THE THIRD AMENDED COMPLAINT

       Defendant Jared Kreiter (“Kreiter”), through his attorneys, submits this memorandum in

support of his motion to dismiss Plaintiff Traffic Tech, Inc.’s (“Traffic Tech”) Third Amended

Complaint (“TAC”). In support thereof, Kreiter states as follows:

                                        INTRODUCTION
       On September 1, 2015, Judge Amy St. Eve, sitting in an emergency court setting, denied

Traffic Tech’s motion for a temporary restraining order to enjoin Kreiter and Total Transportation

Network (“TTN”) from pursuing their business.          The court ruled that Traffic Tech had not

provided any evidence justifying trade secret protection, and that its breach of contract claim could

not succeed because the non-solicitation clause contained therein was unenforceable. Now, what

is left in this case is Traffic Tech’s bare TAC, which contains many conclusions but is devoid of

factual content, as required by Twombly and Iqbal.

       The TAC should be dismissed with prejudice pursuant to Rule 12(b)(6). Traffic Tech’s

breach of contract claim fails because the contract is unenforceable, and, at any rate, Traffic Tech

has not sufficiently pled breach or damages. Traffic Tech’s claim under the ITSA also fails

because it has not articulated a single trade secret, nor has it sufficiently alleged misappropriation

and use in the defendants’ business. Finally, Traffic Tech’s unjust enrichment and breach of


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fiduciary duty claims fail to state a claim, and are both preempted by the ITSA. For these reasons,

this Court should dismiss Traffic Tech’s fourth complaint with prejudice pursuant to Rule

12(b)(6).

                                  FACTUAL BACKGROUND
        The TAC alleges the following, which for purposes of the motion to dismiss, are taken as

true:

        Traffic Tech and TTN Compete in the Logistics Industry
        Traffic Tech is a Canadian company conducting business in the logistics industry. TAC, ¶

1. Traffic Tech admits that defendant TTN is “a third party logistics provider that offers shipping,

tracking, and transportation management services directly in competition with Traffic Tech.” Id. ¶

21.

        Traffic Tech Hires Kreiter from a Competitor in 2013
        Prior to October of 2013, Traffic Tech alleges it “spent considerable resources to source

Defendant Kreiter” from a competitor.    Id. ¶ 9. On October 24, 2013, Kreiter allegedly was hired

to be the Vice President of Business Development at Traffic Tech, and remained in this role until

August 19, 2014, when he voluntarily resigned. Id. ¶¶ 10, 28. In all, Kreiter was employed with

Traffic Tech for a mere ten months. Id. ¶ 10. During this time, Traffic Tech alleges that Kreiter

was a “top sales employee of Traffic Tech, and averaged approximately $50,000 in gross profits

per month during his time at Traffic Tech.” Id. ¶ 15.

        Traffic Tech’s Alleged Confidential Information and Trade Secrets
        Traffic Tech further alleges that Kreiter was privy to confidential information with the

understanding that he would protect its confidentiality. Id. ¶¶ 12, 13. Traffic Tech alleges its

confidential information consists of general categories such as “sales and marketing techniques,

price lists, customer names, contracts and supplier lists.” Id. ¶ 12. Traffic Tech also claims it has

trade secrets, generally labeling these secrets as “production and engineering processes,


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discoveries, formulas, inventions, concepts, ideas and know-how, and the embodiment thereof….”

Id. Traffic Tech does not describe in detail any trade secret, but rather claims that the above

categories of information are “not generally known in the industry,” and give Traffic Tech “an

economic advantage over its competitors” such as TTN. Id. ¶ 14.

       Traffic Tech’s Non-Disclosure Clause
       Traffic Tech alleges that when Kreiter was hired, he signed an employment agreement

(“Employment Agreement”) containing a non-disclosure clause (“Non-Disclosure Clause”) and a

non-solicitation clause (“Non-Solicitation Clause”). Id. ¶¶ 17-18. The Non-Solicitation Clause

(Section 6.03) stated the following:

       This agreement specifically allows the employee to compete with the company for
       business should he leave its employment. However, only accounts specified in Appendix
       “A” are exempt from this agreement. The employee will not solicit any existing clients of
       the company (except the clients notated on appendix “A”) for a period of 18 months after
       the termination date. The employee will also not solicit any Traffic Tech account
       managers or employees to leave Traffic Tech for a period of 18 months after the
       termination date.

       Dkt. 80-1, p. 6.

       Kreiter’s Resignation from Traffic Tech and Alleged Misappropriation
       Traffic Tech alleges that “on information and belief” Kreiter was approached by TTN to

work for it, and that negotiations began between the two parties regarding an “employment

opportunity” as early as June 2014. Id. ¶¶ 22-23. Again, on “information and belief,” Traffic

Tech alleges that TTN reached a deal with Kreiter regarding employment by June 2015. Id. ¶ 24.

According to Traffic Tech, Kreiter began working at Traffic Tech as early as July 2015. Id. ¶ 25.

Traffic Tech further alleges that Kreiter sent himself Traffic Tech confidential information, which

Traffic Tech only specifies as “documents and communications, including rates, pricing requests,

customer contact information, etc….” Id. ¶ 26. Traffic Tech also alleges that some “documents

and communications” were forwarded to TTN. Id. ¶ 27. Traffic Tech does not specify any

particular documents taken, nor does it attach any exhibits of such documents.

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       Kreiter resigned on August 19, 2014. Id. ¶ 28. Traffic Tech alleges that subsequently,

Kreiter “had been pursuing competitive opportunities using Traffic Tech resources and equipment,

as well as actively soliciting Traffic Tech customers, in violation of his Agreement.” Id. Traffic

Tech further alleges that “upon information and belief,” Kreiter engaged in “active and willful

solicitation of at least thirteen, and likely more, Traffic Tech customers, including Ryder Supply

Chain Solutions, Indiana Packers, Inc., ABC/Dr. Pepper Snapple Group, Perdue, Cott Beverage,

Keystone Foods, McLane Foods, Martinelli’s, Ace Hardware, Nestle Waters, Rich Products, West

Liberty Foods, AdvancePierre Foods, Dean Foods and DSC Logistics.” Dkt. 88, ¶ 38. Traffic

Tech does not refer to these entities again in the TAC.

       Causes of Action
       Traffic Tech brings five causes of action against Kreiter: Count I – breach of contract;

Count II – breach of fiduciary duty; Count III – breach of contract for a promissory note; Count IV

– violation of the Illinois Trade Secrets Act (“ITSA”); and Count VI – unjust enrichment.

                                      LEGAL STANDARD

       In order to survive dismissal under Rule 12(b)(6), Traffic Tech “must state a claim to relief

that is ‘plausible on its face.’” Adams v. City of Indianapolis, 742 F.3d 720, 728 (7th Cir. 2014).

A claim “has facial plausibility when the plaintiff pleads factual content that allows the court to

draw the reasonable inference that the defendant is liable for the misconduct alleged.” Id. Factual

allegations are “accepted as true at the pleading stage, but allegations in the form of legal

conclusions are insufficient to survive a Rule 12(b)(6) motion.” Id. “[T]hreadbare recitals of the

elements of a cause of action, supported by mere conclusory statements, do not suffice.” Id.




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                                             ARGUMENT
I.      TRAFFIC TECH’S COUNT I CLAIM FOR BREACH OF CONTRACT SHOULD
        BE DISMISSED PURSUANT TO RULE 12(B)(6).
        Traffic Tech has not pled a valid breach of contract claim because: (1) the Employment

Agreement is unenforceable; (2) Traffic Tech has not sufficiently alleged any breach or damages;

and (3) Traffic Tech is not entitled to restrict Kreiter’s ability to pursue his trade.

        A.      The Non-Solicitation Clause Is Unenforceable.
                1.      The Non-Solicitation Clause is unreasonable under Illinois law.
        As Judge St. Eve held in denying Traffic Tech’s motion for a TRO, the Non-Solicitation

Clause is unreasonable under Illinois law. It does not contain any geographic limitation, nor does

it have any limitations as to customer scope or reach. Rather, it is a blanket prohibition against

contacting Traffic Tech “existing clients”, without ever defining who those clients are. Courts

“are hesitant to enforce noncompetition agreements that prohibit employees from soliciting or

servicing not only customers with whom they had direct contact, but also customers they never

solicited or had contact with while employed.” Eichmann v. Nat'l Hosp. & Health Care Servs.,

Inc., 308 Ill. App. 3d 337, 345 (1st Dist. 1999). Where “an activity restraint, such as a covenant

not to solicit, lacks both a geographic limitation and any qualifying language concerning the

particular customers to which it applies, it is unreasonable.” See id. at 345-46 (finding that non-

solicitation clause was unreasonable).

        The Non-Solicitation Clause is a blanket prohibition against competition, despite the fact

that the Employment Agreement expressly allows for competition. See Dkt. 80-1, Section 6.03

(“This agreement specifically allows for the employee to compete with the business should he

leave its employment.”) This is the very anti-competitive restraint of trade that Eichmann forbids.

See Cambridge Eng., Inc. v. Mercury Partners 90 BI, Inc., 378 Ill. App. 3d 437, 455 (1st Dist.

2007) (holding that the nonsolicitation clause was unreasonable because it extended broadly to




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“any customer” of the company with no limitations).1 For this reason, Traffic Tech’s breach of

contract claim should be dismissed.

                  2.       The Non-Solicitation             Clause      is   not     supported       by     adequate
                           consideration.
         The Non-Solicitation Clause also is unenforceable because it lacks adequate consideration,

since Traffic Tech admits Kreiter did not work continually for Traffic Tech for over two years.

Adequacy of consideration “is analyzed in the context of postemployment restrictive covenants

because it has been recognized that a promise of continued employment may be an illusory benefit

where the employment is at-will.” McInnis v. OAG Motorcycle Ventures, Inc., 2015 IL App (1st)

142644, ¶ 27. Under Illinois law, “continued employment for a substantial period of time beyond

the threat of discharge is sufficient consideration to support a restrictive covenant in an

employment agreement. Id. Generally, courts have held that continued employment for two years

or more constitutes adequate consideration. See id. (finding that restrictive covenant lacked

consideration because employee not continually employed for more than two years); Prairie

Rheumatology Assoc., S.C. v. Francis, 2014 IL App (3d) 140338, ¶¶ 14-15 (same); Fifield v.

Premier Dealer Servs., Inc., 2013 IL App (1st) 120327, ¶ 19. Here, Traffic Tech admits that

Kreiter was employed with Traffic Tech for less than one year. See Dkt. 61, ¶¶ 10, 28. This is

“far short of the two years required for adequate consideration under Illinois law.” Id. There is

insufficient consideration to support the validity of the Non-Solicitation Clause.

         Traffic Tech argues it paid Kreiter $250,000 as consideration for signing “the agreement,”

not independent consideration for any Non-Solicitation Clause. TAC, ¶ 17. Furthermore, the

Employment Agreement never states that the $250,000 bonus is consideration for the Non-

Solicitation Clause. To the contrary, Kreiter’s compensation, including his base salary, bonus and


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  And, when Traffic Tech moved for a TRO, it attached an email showing one of its “existing clients”, Masonite,
reaching out to its competitors (including Kreiter) for a better price quote. See Dkt. 81. This reality of the logistics
industry, as shown by this email, further underscores why the Non-Solicitation Clause unreasonably restricts Kreiter’s
ability to practice his trade in a highly fluid and competitive industry.

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benefits, are listed together in the Employment Agreement, with no reference to the Non-

Solicitation Clause. And, the Non-Solicitation Clause never states that Kreiter was paid any extra

compensation for agreeing to it, nor does it even mention consideration at all. See Dkt. 80-1, p. 6.

Traffic Tech should not be allowed to backdoor Kreiter’s promised salary as a means of justifying

a Non-Solicitation Clause for which Kreiter never received separate consideration.

       B.      Traffic Tech has not sufficiently alleged that Kreiter breached the
               Employment Agreement nor has it alleged any damages.
       Furthermore, Traffic Tech has not sufficiently alleged that Kreiter breached the

Employment Agreement. Despite providing conclusory allegations that Kreiter solicited Traffic

Tech clients, Traffic Tech does not provide any detail as to when and how this solicitation

occurred, what information was told to clients, and if clients left Traffic Tech because of this

solicitation. To the contrary, the TAC is pled on information and belief. Dkt. 80, ¶ 38.

       Tellingly, Traffic Tech did not specify any detail or facts regarding Kreiter’s alleged

solicitation of any entities.     And, Traffic Tech provides no allegations or supporting

documentation showing any harm suffered. Traffic Tech concludes that Kreiter sent confidential

Traffic Tech information to himself and others via email, but does not provide to this Court any

email exhibits, nor does it even specify any emails that would constitute a potential breach of

contract. And, there are no allegations of any lost revenue or profits taken by Defendants. At

best, Traffic Tech complains that some customers have stopped doing business with it, but Traffic

Tech never ties this competitive reality to any conduct on the part of Defendants. See Dkt. 80,

¶42.

       C.      Traffic Tech is Not Entitled to the Remedies it Seeks.
       Alternatively, this Court should strike the remedies Traffic Tech seeks under its breach of

contract claim. Traffic Tech seeks to have this Court create a constructive trust on profits Kreiter

has made from “customers of Traffic Tech whom Kreiter solicited.” Dkt. 80, p. 9. Traffic Tech

also seeks to have Kreiter pay back Traffic Tech the $250,000 alleged signing bonus and the

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$59,553 in recruiting fees it spent, as well as attorney’s fees and costs. Id. There is no legal basis

for any of these remedies.

       First, Traffic Tech cannot have this court enter the extraordinary remedy of a constructive

trust on profits from Kreiter’s alleged solicitation of clients, where Traffic Tech has not even

provided a single allegation as to this solicitation. Traffic Tech’s only solicitation allegation is

made on information and belief, and only generally concludes that a solicitation occurred. Dkt.

80, ¶ 38. Furthermore, Traffic Tech has not, and cannot explain why it would ever be entitled to

seek the $250,000 bonus plus recruiting fees, where the contract does not entitle this remedy and

Traffic Tech admits that Kreiter was, while employed at Traffic Tech, a top salesman who

achieved large profits for the company. Id. ¶ 15. Traffic Tech nowhere in the TAC discusses

which provision of the Employment Agreement entitles it to this type of relief. To the contrary,

the Employment Agreement specifically provides that Kreiter is entitled to compete with Traffic

Tech upon leaving its employment. Dkt. 80-1, Section 6.03. And, there is no employment term

required in the contract, nor any remedy for an early departure by Kreiter.

       Traffic Tech cannot seek to impose non-competitive remedies against Kreiter where it

specifically agreed that Kreiter can compete with it. See Bodemer v. Swanel Bev., Inc., 884 F.

Supp. 2d 717, 736 (2012) (“Moreover, it is clear that [the former company] has attempted to

enforce the confidentiality provision in a way that would extend beyond keeping trade secret and

other confidential information confidential.”); see Emergency Med. Care, Inc. v. Marion Mem'l

Hosp., 94 F.3d 1059, 1061 (7th Cir. 1996) (“[B]ecause Illinois courts favor fair competition and

disfavor restraints on trade, we must strictly construe noncompetition agreements against the party

seeking restriction.”); Reliable Fire Equip. Co. v. Arredondo, 2011 IL 111871, ¶16 (discussing

how courts scrutinize non-competition agreements for “reasonableness,” given that such contracts

deprive[] the public of the industry of the promisor, and deprive[] the promisor of the opportunity

to pursue an occupation and thereby support his or her family.”).

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II.     TRAFFIC TECH’S CLAIM UNDER THE ILLINOIS TRADE SECRETS ACT
        SHOULD BE DISMISSED PURSUANT TO RULE 12(B)(6).
        Traffic Tech’s Count IV claim under the ITSA should also be dismissed. To state a claim

under the ITSA, the plaintiff must allege the subject information was (a) a trade secret, (b)

misappropriated, and (c) used in the defendant's business. Capgemini Fin. Servs. USA Inc. v.

Infosys Ltd., No. 14 C 464, 2014 WL 340206, at *2 (N.D. Ill. Jan. 30, 2014). Traffic Tech has not

properly alleged any trade secret, nor has it alleged misappropriation or use.

        A.     Traffic Tech Has Not Alleged A Valid Trade Secret.
        To establish a trade secret, Traffic Tech must show its information (1) is sufficiently secret

to derive economic value from not being known to other persons who can obtain economic value

from their disclosure or use, and (2) is the subject of efforts that are reasonable under the

circumstances to maintain its secrecy or confidentiality. Carbonic Fire Extinguishers, Inc. v.

Heath, 190 Ill. App. 3d 948, 952-53 (2d Dist. 1989). Traffic Tech cannot meet these elements.

               1.      Traffic Tech has not specified nor defined any claimed trade secret.
        First, Traffic Tech does not ever define what it claims are trade secrets. At best, Traffic

Tech provides the following general allegation: “More specifically, Traffic Tech’s lists of actual or

potential customers, clients, suppliers, rates, lanes, etc., clearly constitute trade secrets under the

Act.” TAC, ¶ 68. Without more, and as Judge St. Eve recognized when denying Traffic Tech’s

motion for a TRO, this general allegation is inadequate.       Dkt. 81, p. 3; see GlobalTap LLC v.

Elkay Mfg. Co., No. 13 C 632, 2015 WL 94325, at *6 (N.D. Ill. Jan. 5, 2015) (“[t]he court cannot

analyze whether a piece of information was sufficiently secret to derive economic value or

whether [plaintiff] took reasonable efforts to keep information secret without first knowing, with

particularity, what information comprises the secret”).

        Furthermore, the general categories of pricing and customer information Traffic Tech

claims are trade secrets are typically not viewed as such. See Applied Indus. Mat. Corp. v.

Brantjes, 891 F. Supp. 432, 437-38 (N.D. Ill. 1994) (“Indeed, the Illinois appellate courts which

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have addressed the issue have consistently held that price information which is disclosed by a

business to any of its customers, unlike a unique formula used to calculate the price information

which is not disclosed to business's customers, does not constitute trade secret information

protected by the Act.”); Bridgestone/Firestone, Inc. v. Lockhart, 5 F. Supp. 2d 667, 681 (S.D. Ind.

1998) (“Nevertheless, such information about customers, cost, and pricing is among the most

fragile and ephemeral types of trade secrets.”); Carbonic Fire Extinguishers, Inc. v. Heath, 190 Ill.

App. 3d 948, 953 (1989) (holding that mere pricing information “is not sufficiently secret to

derive economic value from not being generally known to persons who could obtain economic

value from its disclosure or use.”). This is especially true in the logistics industry, which, as

evidenced by the abovementioned email Traffic Tech attached to its TRO papers, shows a Traffic

Tech “customer” seeking out its competitors for a better price. See Dkt. 81 (discussing the email).

       And, Traffic Tech never discusses (1) any specific lists that keep its contacts; (2) the type

of information on these lists; (3) who created these lists; and (4) where they are safeguarded. See

Capgemini, 2014 WL 340206, at *1 (“Still, it is not enough to point to broad areas of technology

and assert that something there must have been secret and misappropriated. The plaintiff must

show concrete secrets.”). Absent specifics, Traffic Tech’s ITSA claim should be dismissed. See

id. (“Absent specific examples of the types of information it asserts are at risk here, [plaintiff] has

given no basis on which to distinguish between information generally known in the industry and

acquired through experience from protectable information or concrete secrets.”).

       At best, Traffic Tech’s President Mark Schiele describes in his affidavit (to the TRO

motion) only one specific source of information: the Traffic Tech Sales and Logistics System

(“TTSLS”), which, according to Schiele, is password protected and access is only provided on a

“need to know” basis. Dkt. 63-2, ¶¶ 8-9. Schiele further states that TTSLS contains confidential

information, but never describes exactly what type of information TTSLS holds. See Alpha Sch.

Bus Co. v. Wagner, 391 Ill. App. 3d 722, 741 (1st Dist. 2009) (dismissing complaint because

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plaintiffs failed to show that their general categories of alleged computer information was

“sufficiently secret to derive economic value or that [their] secrecy was adequately maintained.”).

As Judge St. Eve recognized in denying Traffic Tech’s motion for a TRO, there is no way for this

Court to determine what information is stored on TTSLS, or if it contains any trade secrets, or if

Kreiter had access to this information. Traffic Tech’s ITSA claim should be dismissed.

               2.      Traffic Tech has not sufficiently alleged the value of any claimed trade
                       secret or how it was safeguarded.
       Traffic Tech also fails to sufficiently allege any value of its alleged trade secrets. Traffic

Tech merely alleges these secrets are “sufficiently secret to derive economic value” and that they

give Traffic Tech “an economic advantage over its competitors” such as TTN. TAC, ¶¶ 14, 68.

This conclusion is not enough to meet Traffic Tech’s burden. See Adams, 742 F.3d at 728

(“[T]hreadbare recitals of the elements of a cause of action, supported by mere conclusory

statements, do not suffice.”).

       Furthermore, Traffic Tech also has not provided any sufficient allegation as to how its

claimed trade secrets were safeguarded. Traffic Tech claims it keeps such information secret by

executing employment agreements with confidentiality clauses, having confidentiality policies,

and limiting access to such information to key employees such as Kreiter.             Dkt. 80, ¶ 70.

However, since Traffic Tech has not provided any specifics as to what its trade secrets are, these

general statements as to confidentiality are not enough. As Judge St. Eve recognized, the only

specific potential source of confidential information, the Traffic Tech Sales and Logistics System

(“TTSLS”), is not supported by any allegation as to the level of secrecy maintained. See Dkt. 81,

p. 4. Traffic Tech has not met its initial burden for alleging a trade secret under the ITSA.

               3.      Traffic Tech’s allegations and supporting documents as to the logistics
                       industry undermine its trade secret allegations.
       Finally, despite referring to “emails” Kreiter allegedly sent and “documents” Kreiter

allegedly misappropriated, the only email Traffic Tech ever attached to its pleadings illustrates


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why it cannot show it has trade secrets under the ITSA. As Judge St. Eve recognized, the August

27, 2015 email Traffic Tech referred to in its TRO papers as “evidence” of misappropriation

actually showed an alleged Traffic Tech customer emailing all of its competitors, including

Kreiter, for a price quote. See Dkt. 81 (discussing email). Given this reality that Traffic Tech has

provided to the Court, Traffic Tech cannot show how the alleged information it claims are trade

secrets are not stale and without value. Trailer Leasing Co. v. Assoc. Com. Corp., 1996 WL

450801, at *1 (N.D. Ill. Aug. 8, 199 (“By all accounts, this is a highly competitive business and it

is unlikely that rate information is ever secret, and if so, that it remains secret for very long. If

competitor ‘A’ gives a customer an advantageous rate, it will not be long before the customer

shops that rate around and tries to get competitor ‘B’ to go even lower; that is the nature of a

competitive market.”). See Applied Indus. Mat. Corp. v. Brantjes, 891 F. Supp. 432, 437-38 (N.D.

Ill. 1994) (denying trade secret protection where the product cost information was “so outdated

that it lack[ed] current economic value.”). For this reason, Traffic Tech’s ITSA claim should be

dismissed for failure to state a claim.

       B.      Traffic Tech Has Not Sufficiently Alleged Misappropriation of Wrongful Use.
       For    the   abovementioned        reasons,   Traffic   Tech   has   not   sufficiently   alleged

misappropriation. Kreiter has vast industry experience and is free to use it to conduct his business.

Indeed, that is why Traffic Tech spent what it alleges were “considerable resources” to hire him in

the first place. Kreiter’s mind is not a Traffic Tech trade secret. See Capgemini, 2014 WL

340206, at *3 (“[E]mployees working in a competitive market “must be entitled to utilize the

general knowledge and skills acquired through experience in pursuing [their] chosen

occupation.”); Am. Hardware Mut. Ins. Co. v. Moran, 545 F. Supp. 192, 198 (N.D. Ill. 1982) (“In

other words, an employee cannot be forced to erase from his mind all the knowledge and skills

that he acquired during prior employment.”).




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       Furthermore, Traffic Tech has not pled that Defendants actually used Traffic Tech’s trade

secrets in their business. Instead, Traffic Tech merely speculates as to use on information and

belief. Dkt. 80, ¶¶ 5-6. Traffic Tech also vaguely describes how Kreiter emailed TTN and

discussed going on a similar trip with a customer to one he did in the past while at Traffic Tech.

Without anything more, these pleadings are deficient. See Woodard v. Harrison, 2008 WL

4724370, at *3 (C.D. Ill. Oct. 24, 2008) (dismissing trade secret complaint because plaintiff did

not allege “use,” other than speculating as to future harm); Abbott Labs. v. Chiron Corp., 1997

WL 208369, at *3 (N.D. Ill. Apr. 23, 1997) (finding that complaint did not sufficiently allege

misappropriation and use); see also Alpha Sch. Bus Co. v. Wagner, 391 Ill. App. 3d 722 (2009)

(“P]laintiffs failed to properly plead that defendants used the information in their business, which

is also a required element in a misappropriation of trade secrets claim.”).

III.   TRAFFIC TECH’S BREACH OF FIDUCIARY DUTY CLAIM SHOULD BE
       DISMISSED PURSUANT TO RULE 12(B)(6).
       Traffic Tech’s breach of fiduciary duty claim also fails as a matter of law. As an initial

matter, this claim is preempted by the ITSA, which preempts “conflicting tort, restitutionary,

unfair competition, and other laws of this State providing civil remedies for misappropriation of a

trade secret.” 765 ILCS 1065/8. Traffic Tech’s fiduciary duty claim -- predicated on Kreiter’s

alleged conduct of disclosing confidential information to TTN (Dkt. 61, ¶¶ 52, 58) -- is identical to

its ITSA misappropriation claim and therefore preempted.           See Carpenter v. Aspen Search

Advisers, LLC, No. 10 C 6823, 2011 WL 1297733, at *2 (N.D. Ill. Apr. 5, 2011) (finding that

breach of fiduciary duty claim was preempted by the ITSA because it arose from defendant’s

alleged access to confidential data); Thomas & Betts Corp. v. Panduit Corp., 108 F. Supp. 2d 968,

972 (N.D. Ill. 2000) (same).

       Even if this claim were not preempted, Traffic Tech has not sufficiently alleged that

Kreiter had any fiduciary duty to Traffic Tech or committed a breach. At best, Traffic Tech

alleges that Kreiter was in contact with TTN while still working for Traffic Tech. But, Illinois
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courts allow departing employees to discuss future plans with new employers. Ellis & Marshall

Assoc., Inc. v. Marshall, 16 Il. App. 3d 398, 402-03 (1st Dist. 1973); Radiac Abrasives, Inc. v.

Diamond Tech., Inc., 177 Ill. App. 3d 628, 637 (2d Dist. 1988).

IV.    TRAFFIC TECH’S UNJUST ENRICHMENT CLAIM SHOULD BE DISMISSED.
       Traffic Tech’s unjust enrichment claim should also be dismissed for several reasons. First,

like the breach of fiduciary duty claim, it is preempted by the ITSA. See Cronimet Holdings, Inc.

v. Keywell Metals, LLC, 73 F. Supp. 3d 907, 920 (N.D. Ill. 2014) (dismissing unjust enrichment

claim as preempted by the ITSA). Second, Traffic Tech cannot recover under both a breach of

contract theory and an unjust enrichment theory. Shaw v. Hyatt, Int’l Corp., 461 F.3d 899, 902

(7th Cir. 2006). Rather, Traffic Tech’s unjust enrichment claim fails from a pleading standard

because it references and is based upon the Employment Agreement.             “When two parties’

relationship is governed by contract, they may not bring a claim of unjust enrichment unless the

claim falls outside the contract.” Utility Audit, Inc. v. Horace Mann Serv. Corp., 383 F.3d 683,

688-89 (7th Cir. 2004). Furthermore, as discussed above, and as Judge St. Eve recognized, Traffic

Tech’s Non-Solicitation Clause is unenforceable as a matter of law. Traffic Tech should not be

allowed to backdoor its unreasonable agreement through the amorphous theory of quantum meruit.

See Liautaud v. Liautaud, 221 F.3d 981, 989 (7th Cir. 2000) (“We also agree with the district

court that Illinois law does not allow a claim for unjust enrichment when the underlying contract

has been held to be void as against public policy.”) Finally, the substance of Traffic Tech’s unjust

enrichment claim is that it would be unjust for Kreiter to keep the $250,000 signing bonus he

received in October of 2013. But, Traffic Tech admits that Kreiter was a top sales employee for

Traffic Tech during the ten months that he worked there, and earned for the company tens of

thousands of dollars in sales profits each month. Dkt. 80, ¶ 15. Accepting this as true, Traffic

Tech cannot make any legitimate argument as to why it would be entitled to a disgorgement from

Kreiter of the salary he earned through hard work at Traffic Tech. Traffic Tech received a


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substantial and valuable benefit through its hiring of Kreiter. For these reasons, Traffic Tech’s

unjust enrichment claim should be dismissed pursuant to Rule 12(b)(6).

V.       TRAFFIC TECH’S SMALL AMOUNT BREACH OF CONTRACT CLAIM BASED
         UPON A PROMISSORY NOTE SHOULD BE DISMISSED.
         Finally, Traffic Tech has brought a separate breach of contract claim (Count III) based

upon a $10,000 promissory note and facts unrelated to the rest of Traffic Tech’s pleadings. This

contractual claim seeks damages well below the federal diversity jurisdictional requirement. See

28 U.S.C. § 1332. If this Court dismisses Traffic Tech’s other claims for the reasons stated above,

then Count III must also be dismissed for failure to satisfy the amount in controversy requirement

for purposes of federal diversity jurisdiction.

                                           CONCLUSION
         For the abovementioned reasons, Defendant Jared Kreiter respectfully requests that the

TAC be dismissed in its entirety with prejudice.

                                                  Respectfully submitted,

                                                  s/Lawrence C. Rubin__________

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